Case 1:19-mj-OO434 Document 1 Filed on 04/04/19 in TXSD Page 1 of 3

 

 

AO 91 (Rev. ll/ll) Criminal Complaint F‘&[ 610 L’/
` dStZSD"
UNITED STATES DISTRICT CoUt\.\lo themesmr::é‘;;t¥;::;‘
for the FSLED
Southern District of Texas
United States of America ) APR 4 2019
v. )
) Case NO_ David J., Brad|ey, C|erk of Court

(1) Hector MoNcLovA~Perez ) /b’l q ’mj* 45 L)‘
(2) Ksandra MEDRANO §
g

 

Defendanl(s)
CRIMINAL COMPLAINT

l, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(S) of 4 / 3 / 2 0 l 9 in the county of Camer On in the
Southern District of T€XaS , the defendant(s) violated:
Code Section O]j‘ense Description
21 U.S.C. 84l(a)(l) and Possession with Intent to Distribute
21 U.S.C. 846 approximately 161.76 kqs of marijuana, a

schedule l controlled Substance.

This criminal complaint is based on these facts:

See Attachments

Continued on the attached sheet.

%M /<

Complainant' s signature

Albert Toriz, DEA Task Force Officer
Printed name and !itle

 

Swom to before me and signed in my presence. ///
Date: 4/4/2019 MY{/”°{V /

Judge ’s‘signatz
CRyandSUH€ Brownsville, Texas Ronald G. Morgan, US Ma trate Judge
Printed name and title

 

Case 1:19-mj-OO434 Document 1 Filed on 04/04/19 in TXSD Page 2 of 3

Page 1 of 2

United States g
v. @'lél'mj*"/§"i
(l)Hector MONCLOVA-Perez

(Z)Ksandra MEDRANO
ATTACH]\/IENT

(AFFnJAvIT)

On Apri| 3, 2019, at approximately 91 10 a.m., a call was sent out over the Border Patrol Service radio of
possible narcotics between Los Fresnos pump rd. and WaterTower Rd. in Brownsvil|e, Cameron County,
Texas. Border Patrol Agents in the area responded to the call.

Remote Video Surveil|ance System (RVSS) Agent advised via service radio of possible scouts near Los
Fresnos Pump. Border Patrol Agents started setting up around the area covering all possible exit routes.

RVSS Agent then advised of a white pickup truck entering Los Fresnos Pump rd., minutes later RVSS
Agent advised via radio of the white pickup truck exiting Los Fresnos Pump rd. and saw what appeared
to be bundles in the bed of the truck.

Agents responded to the exact area and got behind the white truck. Agents activated their overhead
emergency lights of their service units in an attempt to keep the vehicle away from Hwy 281. Agents
saw two passengers in the vehicle as it refused to stop. The White pickup truck bearing Texas license
plates went around the units and continued to travel north towards Hwy 281. Agents
continued to follow the vehicle calling out direction of travel for other agents in the area to assist.

Vehicle continued traveling through numerous streets disregarding any law enforcement attempting to
conduct the vehicle stop. Agents continued to follow the vehicle and advising of the situation via radio.
Vehicle drove on 802 to Sunrise l\/la|l, then to Pablo Kisel Rd. where it came to a stop after striking a
palm tree. Driver attempted to maneuver out again but was surrounded by Border patrol Agents who
extracted the driver and passenger from the white truck. Throughout the entire pursuit agents never
lost sight ofthe white truck.

The driver identified as (Hector l\/|ONCLOVA-Perez) and passenger as (Ksandra MEDRANO) were both
detained and placed into Border Patrol units.

After subjects were secured agents seize 5 bundles in the bed of the truck and 8 bundles inside the cabin
which later field tested positive for marijuana for a total of 13 bundles.

Agents also recovered an H&K P200 Pisto| bearing serial number (123-076923) located on the passenger
floor board of the white truck. Record checks on the pistol revealed pistol was reported stolen on
October 28, 2018. Pistol is registered to Department of Homeland Security. Agents also recovered 9
fully loaded magazines (12 rounds in each magazine) with 1 magazine in the pistol a round in the
chamber and 103 lose rounds in the center console of the vehicle.

A criminal history check revealed that neither l\/lONCLOVA-Perez nor l\/lEDRANO were convicted felons.

Case 1:19-mj-OO434 Document 1 Filed on 04/04/19 in TXSD Page 3 of 3

/b~'[‘!` ~/WF“’¥B.F/

The total weight of the marijuana was 161.76 kg (356.55 lbs.) with an estimated value of$285,240.00

(USD).

Sworn to before me, and subscribed in my presence,

Date: April 4, 2019,

City and State:

Brownsville Texas

 

%M/

Complainant’ s S'ignature

 

Albert Toriz, DEA Task Force Offlcer
Prz'ntea' Name and Title

%M%/w/%W //

/Jua'ge’ s Signature

Ronald G. Morgan LUnited States Maeistrate
Printed Name and Tz`tle

